Case 1:05-cr-10032-.]DT Document 18 Filed 05/03/05 Page 10f2 P 19

 

 

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. d / F 527
Plaintiff, ‘7€¢§9{¢;;’>
a
v. cr. No. 05-10032-02-T/An
RoNNiE MuLLEN,
Defendant.
oRDER oN ARRA|GNMENT

 

This cause came to be heard on N|ay 2, 2005. The Assistant United States Attorney
appeared on behalf of the government, and the defendant appeared in person and with the
following counsel, who is appointed:

NA|VIE: Dianne Smothers for Pat Brown, Asst. Federal Defender
ADDRESS:

TELEPHONE:

The defendant, through counse|, waived formal arraignment and entered a plea of not
guilty.

A|I motions shall be filed within thirty (30) days from the date hereof unless, for good cause
shown to a District Judge, such period is extended.

The defendant, who is not in custody, may stand on his present bond.

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S. THOMAS ANDERSON
United States Magistrate Judge

Charges: sexual exploitation of children; possession of visual depictions of minors engaging
in sexually explicit conduct shipped/transported in interstate commerce; aiding and
abetting

Assistant U.S. Attorney assigned to case: Grina|ds

Rule 32 Was not waived.

This document entered on the docket sheet in compliance
with Rule 55 and/or 32(b) r-Rch on 5

 

0 TESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 18 in
case 1:05-CR-10032 Was distributed by faX, mail, or direct printing on
May 5, 2005 to the parties listed.

 

Richard Leigh Grinalds

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l\/lemphis7 TN 38103

Honorable J ames Todd
US DISTRICT COURT

